               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                 1:09 mj 48


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
BOBBY ALLEN GIBSON,                          )
                                             )
                  Defendant.                 )
________________________________________     )


      THIS MATTER coming on to be heard before the undersigned, pursuant to

a “ Motion to Continue ” (#16) filed by defendant’s counsel, Janna D. Allison. Ms.

Allison has filed a Notice of Appearance (#15) in this matter. It appearing from the

motion, that Ms. Allison is scheduled to appear in Haywood County Superior Court

for a jury trial on August 10, 2009. It appears to the court that good cause has been

shown for the granting of such motion.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the defendant’s “Motion to Continue”

(#16) is hereby ALLOWED.

                                         Signed: August 10, 2009




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